               Case 16-15918-RAM              Doc 108       Filed 11/03/16        Page 1 of 4



                               UNITED STATES BANKRUPTCY COURT
                                 SOUTHERN DISTRICT OF FLORIDA
                                        MIAMI DIVISION

IN RE:                                              CASE NO.:        16-15918 RAM
                                                    CHAPTER          11
ACE’S INDOOR SHOOTING RANGE &
PRO GUN SHOP, INC.

             Debtor.
___________________________________/


          CREDITOR, NATIONAL FUNDING, INC.’S LIMITED OBJECTION TO SALE

         Creditor, NATIONAL FUNDING, INC., (“NATIONAL”), by and through its undersigned counsel,

hereby files its Limited Objection to the Sale contemplated by the Asset Purchase Agreement, and objects

as follows:

         1.      NATIONAL is a secured creditor with a blanket lien on all the assets of the Debtor. It is

believed that NATIONAL’s secured interest is behind the secured interest of TOTAL BANK, N.A. The

Debtor is currently paying NATIONAL under a cash collateral Order [Doc.101].

         2.      The Debtor has filed a Motion to sell substantially all of its assets free and clear of all liens

pursuant to that certain Asset Purchase Agreement attached hereto as Exhibit “A” and attached to Debtor’s

Expedited Motion for (I) Entry of an Order (A) Approving Competitive Bidding and Sale Procedures; (B)

Approving Form of Asset Purchase Agreement; and (C) Scheduling a Final Hearing to Consider Final

Approval of the sale; and (II) Entry of an Order Authorizing Sale of Substantially all of the Debtor’s Assets

to the Successful Bidder (“SALE MOTION”) [Doc.88].

         3.      Pursuant to the SALE MOTION, the minimum purchase price for the Debtor’s assets is

$50,000.00 along with assumption of certain Assumed Liabilities. NATIONAL is listed as one of the

Assumed liabilities that the Buyer would be required to assume under the terms of the Asset Purchase

Agreement.

         4.      The Buyer would receive in exchange for the $50,000.00 payment and assumption of the

Assumed Liabilities, the assets of the Debtor free and clear, of any and all claims, liens, mortgages, security

interests, etc., including NATIONAL’s secured interest.

         5.      Although pursuant to the terms of the Asset Purchase Agreement the buyer expressly will

be assuming NATIONAL’s “debt”, the Buyer only assumes the allowed claim of NATIONAL as treated in

the confirmed Chapter 11 Plan. However, at this juncture, the Debtor has not filed a proposed Chapter 11
                Case 16-15918-RAM             Doc 108       Filed 11/03/16       Page 2 of 4



plan and has recently requested [Doc.96], and obtained an extension of time to file it’s Plan [Doc.103].

Accordingly, NATIONAL, has no idea (and it remains unknown) how the Debtor proposes to treat

NATIONAL’S secured claim. Moreover, it would appear that after the sale “free and clear” of all liens,

NATIONAL would lose its security, and accordingly, NATIONAL’S secured claim would be limited or

otherwise reduced to a certain unknown portion of the $50,000.00 sale proceeds, if any (given that TOTAL

BANK, N.A. has a lien in excess of $50,000.00).

         WHEREFORE, Creditor, NATIONAL FUNDING, INC., objects to the Debtor’s proposed sale of

its assets as set forth herein.

         I HEREBY CERTIFY that I am admitted to the Bar of the United States District Court for the

Southern District of Florida and I am in compliance with the additional qualifications to practice in this Court

set forth in Local Rule 2090-1(A).

         I HEREBY CERTIFY that on November 3, 2016, I electronically filed a true and correct copy of the

foregoing Limited Objection with the Clerk of the United States Bankruptcy Court for the Southern District

of Florida by using the CM/ECF system and I furnished a copy of the foregoing document to the parties listed

below in the manner indicated.


                                      EMANUEL & ZWIEBEL, PLLC
                                     Attorneys for National Funding, Inc.
                                              7900 Peters Road
                                            Building B, Suite 100
                                          Plantation, Florida 33324
                                            (954) 424-2005 Phone
                                             (954) 533-0138 Fax

                                       By:    /s/ Eric B. Zwiebel
                                            Eric B. Zwiebel, Esq.
                                          Florida Bar No.: 476404
                                        eric.zwiebel@emzwlaw.com

Via CM/ECF system which will send Notice of Electronic filing to:
Jacqueline Calderin, Esq., at jc@ecclegal.com
Nicole Grimal Helmstetter, Esq., at ng@ecclegal.com
Matthew A. Petrie, Esq., at map@ecclegal.com
Ross R. Hartog, Esq., at rhartog@mrthlaw.com
Office of the US Trustee
All parties on the attached matrix designated to receive electronic notice

Via U.S. Mail

Ace’s Indoor Shooting Range & Pro Gun Shop, Inc.
2105 NW 102 Place
Miami, Florida 33172
Label Matrix for local noticing Case 16-15918-RAM
                                             Ace’s IndoorDoc   108RangeFiled
                                                          Shooting        & Pro 11/03/16
                                                                                Gun S      Page
                                                                                             BMW 3Financial
                                                                                                    of 4 Services NA, LLC
113C-1                                       2105 NW 102 Place                                c/o Ascension Capital Group
Case 16-15918-RAM                            Miami, FL 33172-2519                             P.O. Box 201347
Southern District of Florida                                                                  Arlington, TX 76006-1347
Miami
Thu Nov 3 15:36:29 EDT 2016
National Funding, Inc.                       American Express                                 American Express Bank FSB
c/o Emanuel & Zwiebel, PLLC                  200 Vessey Street 10285-0002                     c/o Becket and Lee LLP
7900 Peters Road                                                                              PO Box 3001
Building B                                                                                    Malvern PA 19355-0701
Suite 100
Plantation, FL 33324-4045
Angela Rodriguez                             (p)BMW FINANCIAL SERVICES                        Bank of the West
4701 SW 142 Court                            CUSTOMER SERVICE CENTER                          201 N. Civic Drive
Miami FL 33175-4324                          PO BOX 3608                                      Suite 360B
                                             DUBLIN OH 43016-0306                             Walnut Creek, CA 94596-3896


Camfour                                        Century International                          Florida Departement of Revenue
65 Westfield Ind Park Rd 01085-1693            430 South Congress Avenue                      P.O. Box 6668
                                               Suite 1                                        Tallahassee, FL 32314-6668
                                               Delray Beach, FL 33445-4701


Florida Department of Law Enforcement          Florida Department of Law Enforcement          Florida Department of Revenue
2331 Phillips Road                             PO box Drawer 7178                             5050 W Tennessee Street
Tallahassee, FL 32308-5333                     Tallahassee FL 32314-7178                      Tallahassee, FL 32399-0100



Geonan Holdings, LLC                           George De Pina                                 George de Pina
PO Box 650848                                  PO Box 650848                                  10631 N. Kendall Drive
Miami, FL 33265-0848                           Miami, FL 33265-0848                           Suite 220
                                                                                              Miami, FL 33176-1571


Grainger                                       Gustavo Lucero                                 Gustavo Lucero
100 Grainger Parkway                           11720 SW 113 Court                             343 Ives Diary Road, Apt# 6
Lake Forest, IL 60045-5202                     Miami, FL 33176-3818                           Miami FL 33179-3354



Hornady Ammunition                             (p)INTERNAL REVENUE SERVICE                    Internal Revenue Service
3625 West Old Potash Highway 68803-4905        CENTRALIZED INSOLVENCY OPERATIONS              PO Box 7346
                                               PO BOX 7346                                    Philadelphia, PA 19101-7346
                                               PHILADELPHIA PA 19101-7346


Kriss Newco USA                                Legacy Sports                                  Marlin Leasing
565 W Lambert Rd Suite F                       4750 Longley Lane #209                         300 Fellowship Road
Brea, CA 92821-3901                            Reno, NV 89502-5982                            Mount Laurel, NJ 08054-1727



Miami Dade County Tax Collector                Nancy de Pina                                  Nancy de Pina
140 W. Flagler St                              10631 N. Kendall Drive                         c/o Chastity Perez, Esq.
#1403                                          Suite 220                                      Pacheci Oerez Ortiz, PA
Miami, FL 33130-1561                           Miami, FL 33176-1571                           2121 SW 37th Avenue, Suite 200
                                                                                              Miami, FL 33145-1711
National Best Sports             Case 16-15918-RAM        Doc 108
                                              National Funding, Inc.               Filed 11/03/16    Page  4 of Funding,
                                                                                                       National  4       Inc.
4350 Fossil Creek Boulevard                          9820 Town Centre Drive                               c/o Neal Salisian, Esq.
Fort Worth, TX 76137-2740                            Suite 200                                            550 South Hope Street, Suite 750
                                                     San Diego, CA 92121-1944                             Los Angeles, CA 90071-2686


Office Depot                                         Office of the US Trustee                             POF
6600 N Military Trail                                51 S.W. 1st Ave.                                     23011 N 16th Lane
Boca Raton, FL 33496-2434                            Suite 1204                                           Phoenix, AZ 85027-1331
                                                     Miami, FL 33130-1614


Progressive Waste                                    The Allen Co.                                        Total Bank
3840 NW 37th Court                                   525 Burbank Street                                   9690 NW 41st Street
Miami, FL 33142-4208                                 Broomfield, CO 80020-1647                            Miami, FL 33178-2444



TotalBank & AISOA                                    Trugloo, Inc.                                        Visa First Bank Card
2720 Coral Way                                       525 International Parkway                            c/o First national Bank of Omaha
Miami, FL 33145-3202                                 Richardson, TX 75081-2282                            PO Box 2340
                                                                                                          Omaha, NE 68103-2340


Wells Fargo Bank, N.A.                               Charles Berrane                                      Harry Stampler
300 Tri-StateInternational, Suite 400                9130 S. Dadeland Blvd.                               Virtual Appraisals, Inc.
Lincolnshire IL 60069-4417                           Suite 1800                                           6740 Taft St.
                                                     Miami, Fl 33156-7858                                 Hollywood, FL 33024-3903


Jacqueline Calderin Esq.                             Matthew A Petrie                                     Nicole Grimal Helmstetter
501 Brickell Key Drive #300                          Ehrenstein Charbonneau Calderin                      501 Brickell Key Dr. # 300
Miami, FL 33131-2624                                 501 Brickell Key Drive #300                          Miami, FL 33131-2624
                                                     Miami, FL 33131-2624




                   The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                   by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


BMW Financial Services NA, LLC                       Internal Revenue Service                             (d)Internal Revenue Service
P.O. Box 3608                                        7850 SW 6 Court                                      PO Box 21126
Dublin, OH 43016                                     Mail Stop 5730                                       Philadelphia, PA 19114
                                                     Fort Lauderdale, FL 33324




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Miami                                             End of Label Matrix
                                                     Mailable recipients      47
                                                     Bypassed recipients       1
                                                     Total                    48
